                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     DANVILLE DIVISION


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Case 4:18-cr-00011-MFU-RSB Document 1122 Filed 11/12/19 Page 1 of 1 Pageid#: 10046
